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                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
                                    PORTLAND DIVISION


 UNITED STATES OF AMERICA                                 00266-SI
                                                  3:25-cr-__________________

                v.                                INFORMATION

 OSMAN YOVANI DOMINGUEZ-                          8 U.S.C. § 1326(a)
 CHAVEZ,

                Defendant.


                     THE UNITED STATES ATTORNEY CHARGES:

                                            COUNT 1
                                        (Illegal Reentry)
                                      (8 U.S.C. § 1326(a))

       On or about January 21, 2025, in the District of Oregon, defendant OSMAN YOVANI

DOMINGUEZ-CHAVEZ, an alien and citizen of Honduras, was found in the United States,

having previously been denied admission, excluded, deported, and removed from the United

States on June 10, 2011, and defendant having knowingly and unlawfully re-entered, without the

express consent of the Attorney General of the United States, or his successor, the Secretary for

Homeland Security, to his reapplying for admission into the United States from a place outside

the United States;

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       In violation of Title 8, United States Code, Section 1326(a).

Dated: June 18, 2025.                               Respectfully submitted,

                                                    WILLIAM M. NARUS
                                                    Acting United States Attorney


                                                    /s/Cassady A. Adams______________
                                                    CASSADY ADAMS, CO Bar # 48807
                                                    Assistant United States Attorney




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